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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE No.: 0:18-cv-62138-WPD

  DANIEL MITTELMARK
  individually and on behalf of all
  others similarly situated,                                  CLASS ACTION

         Plaintiff,                                           JURY TRIAL DEMANDED

  v.

  THE YOGA JOINT SOUTH, LLC, and
  YOGA JOINT- DEERFIELD, LLC,

        Defendant.
  __________________________________/

                                       NOTICE OF SETTLEMENT

         Plaintiff, Daniel Mittelmark, by and through his undersigned counsel, hereby give notice

  that the parties have reached a settlement with respect to Plaintiff’s individual claims. Plaintiff

  and Defendant are in the process of finalizing their settlement agreement. Plaintiff anticipates

  filing a Notice of Dismissal within thirty (30) days.



  Dated: March 12, 2019

                                Respectfully submitted,

                                EISENBAND LAW, P.A.

                                /s/Michael Eisenband
                                Florida Bar No: 94235
                                515 E Las Olas Boulevard
                                Suite 120
                                Fort Lauderdale, FL 33301
                                Telephone: (954) 533-4092
                                meisenband@eisenbandlaw.com
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                                 CASE No.: 0:18-cv-62138-WPD


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 12, 2019, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notice of Electronic Filing

  generated by CM/ECF. Additionally, Plaintiff is providing a copy of the foregoing to Defendant

  Aventura Dance Cruise LLC through email correspondence c/o Moshe Rasier at

  MosheRasier@gmail.com.




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